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                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF MAINE


UNITED STATES OF AMERICA,                              )
                                                       )
       v.                                              )       Criminal Number
                                                       )       19-201-JDL
ANTHONY JONES.                                         )

            MOTION TO RECONSIDER ORDER ON MOTION FOR DISCOVERY

       I.      BACKGROUND

       This case stems from the stop of Mr. Jones as he drove north on the Maine Turnpike on

September 30, 2019. Mr. Jones was stopped for an expired inspection sticker. After being

stopped, he was subjected to prolonged interrogation and was detained for a prolonged period of

time, without articulable suspicion that criminal activity was afoot, while the Trooper waited for

a drug dog to show up. Mr. Jones has challenged the prolonged detention on the basis of the

Supreme Court ruling in Rodriguez v. United States, 135 S.Ct 1609, 1616 (2015).

       In his Motion for Discovery, Mr. Jones seeks to discover information concerning other

cases investigated by the Trooper, to see whether there is a pattern of racial profiling. If there is,

Mr. Jones will file a Motion to Dismiss based upon a violation of Due Process.

       The Court has ruled that, at this point in the proceedings, being that no hearing has been

held on the Motion to Suppress, no showing has been made by Mr. Jones that there was no

articulable suspicion, and therefore Mr. Jones has not met his burden of showing that an in

camera review of the material, pursuant to typical Brady practice, that he requests in this motion

would reveal evidence of racial profiling.




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         Since filing the Motion for Discovery, counsel for Mr. Jones has learned of other cases

involving this Trooper and African-American motorists. In one case, State v. Edward Williams,

UCD 18-713, Judge Moscowitz actually granted a Motion to Suppress Evidence, based upon

Rodriguez, on facts strikingly similar to the facts of this case.

         In another case, United States v. Terrel Walker, 19-220-JDL, the same Trooper is heard

telling a compatriot that he pulls people over if they have “dreads” and a “wife beater” shirt.

“Dreads” refers to dreadlocks, which is a predominantly African-American hairstyle. This is

direct evidence from the Trooper’s own mouth, that this Trooper detains people based upon their

looks, including skin color, rather than actual articulable suspicion of crime.

         II.     Discussion1

         Selective prosecution of individuals based upon race violates the Equal Protection Clause

of the 5th Amendment Due Process Clause. A prosecutor must not base a prosecutorial decision

on race, religion or other arbitrary classification. Oyler v. Boles, 368 U.S. 448, 456 (1962). It is

presumed that a prosecutorial decision to charge an individual is based upon probable cause.

United States v. Armstrong, 517 U.S. 456, 464 (1966). To overcome this presumption, a criminal

defendant must present "clear evidence to the contrary." Id. At 465. Specifically, "the claimant

must demonstrate that the federal prosecutorial policy 'had a discriminatory effect and that it was

motivated by a discriminatory purpose.'" Id. To establish discriminatory effect in a race case, the

defendant must show that "similarly situated individuals of a different race were not

prosecuted." Id. The test, therefore, as announced in Armstrong, is that, in order to get discovery




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  In the initial filing, Defendant based his argument on Brady. In this iteration of his request for additional
discovery, Defendant takes a different approach, instead basing his argument on United States v. Armstrong and
its progeny.


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on other incidents of selective prosecution based upon race, there must be a showing by the

defendant that other races could have been prosecuted but were not. Armstrong. 517 U.S. at 469.

         As with selective prosecution, selective enforcement of the law by police based upon

race, also constitutes a violation of Due Process. This is otherwise known as racial profiling and

is grounds for dismissal of criminal charges.

         The Armstrong test for discovery in selective prosecution cases has been applied in the

context of selective enforcement cases. See United States v. Barlow, 310 F.3d 1007, 1010 (7th

Cir. 2002). There are no First Circuit cases on this issue. The Barlow court held that the required

showing, in order to obtain further discovery concerning racial profiling, by an African

American claimant, is that a law or regulation was enforced against him, but not against similarly

situated individuals of other races. Id. at 1010, citing Armstrong at 465; Chavez v. Illinois State

Police, 251 F.3d 612, 635-36 (7th Cir. 2001); United States v. Hayes, 236 F.3d 891, 895(7th Cir.

2001).

         Thus, the issue is whether the Trooper orders every person that he stops, regardless of

race, out of the car, and whether he detains every person that he stops for a prolonged period of

time, while he waits for a drug dog to show up. Or is it only the young African-American

motorists that are subjected to such treatment by this Trooper? There are at least two cases in

which the Trooper has stopped an African-American male for innocuous traffic infractions and

turned the encounter into a drug investigation, with the use a drug dog, with no articulable

suspicion that the person was engaged in drug activity. One of the cases, State v. Williams,

actually resulted in the exclusion of the drug evidence, in state court, because the traffic stop was

prolonged past the time necessary to issue the traffic citation. In the other case, United States v.

Terrel Walker, the Trooper, immediately after saying that he pulls over people with dreads and




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wife beater shirts, made a blatantly pretextual stop2. Including the case at bar, that amounts to

three cases in which young, Black males are subjected to either pretextual traffic stops or

prolonged detentions without articulable suspicion. It is reasonable to believe that there are more

of these cases involving this Trooper. This is a sufficient showing to allow the defense to

investigate this issue further.

                                              CONCLUSION

         For the reasons set forth above, Mr. Jones asks the Court to reconsider its previous Order

denying his Motion for Discovery, and that the Court order the production of the material

requested therein.

         Dated at Portland, Maine this 15th day of July, 2020.

                                                                 /s/Peter E. Rodway, Esq.
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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF MAINE

        I hereby certify that on July 15, 2020, I electronically filed Motion to Reconsider with the
Clerk of The Court using the CM/ECF system which will send notification of such filing to
Assistant United States Attorney Meghan Connelly, Esq., and I hereby certify that on July 15,
2020, I mailed by U.S. Mail, the document to the following non-registered participant: Mr.
Anthony Jones.


                                                                 /s/Peter E. Rodway, Esq.




2
 Mr. Walker has challenged the Trooper’s conduct on a myriad of different theories, including
racial profiling.

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